        Case 20-14119-pmm                       Doc      Filed 09/30/24 Entered 09/30/24 08:44:43                                  Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 4
 Debtor 1               Wendell N Calloway
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Eastern                          PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        20-14119
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                            12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Santander Bank, N.A.
 Name of creditor: _______________________________________                                                           5
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          0 ____
                                                         ____ 6 ____
                                                                2 ____
                                                                     8                   Must be at least 21 days after date       10 19 24
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          174.62
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                           New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
       No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)
                                      number of days in the month changes the amount due
                   Reason for change: ___________________________________________________________________________________
                                               175.77
                   Current mortgage payment: $ _______________                                                 174.62
                                                                                       New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
      Case 20-14119-pmm                              Doc          Filed 09/30/24 Entered 09/30/24 08:44:43                           Desc Main
                                                                  Document      Page 2 of 4

Debtor 1
                  Wendell N Calloway
                 _______________________________________________________
                                                                                                                   20-14119
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



    _____________________________________________________________
     Signature
                                                                                               Date
                                                                                                       09 30      2024
                                                                                                       ____/_____/________



                                                                                                       Bankruptcy Administrator
                     Lynn A Grimm
 Print:             _________________________________________________________                  Title   ___________________________
                    First Name                      Middle Name         Last Name



 Company
                     Santander Bank, N.A.
                    _________________________________________________________


                     450 Penn Street
 Address            _________________________________________________________
                    Number                 Street

                    Reading                            PA        19602
                    ___________________________________________________
                    City                                                State       ZIP Code


                      610        988      0977                                                         DeftBkr@santander.us
 Contact phone      (______) _____– _________                                                  Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
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                                    Document      Page 3 of 4



                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
In Re:                                                        Chapter #13
         Wendell N Calloway                                   Case No. 20-14119
                                                              Honorable Patricia M Mayer
Debtor
____________________________________________/

                                  CERTIFICATE OF SERVICE

       I, Lynn A Grimm of Santander Bank, N.A., do hereby certify that on September 30, 2024, I
caused to be served a copy of the Notice of Payment Change on the service list below by having a
copy of the same mailed by the first class mail, postage prepaid or other method specified on service
list.

         Signed under the penalties of perjury, this 30th day of September 2024.



                                                              _______________________________
                                                              Lynn A Grimm
                                                              Santander Bank, N.A.
                                                              Bankruptcy Administrator
                                                              450 Penn Street
                                                              Reading, PA 19602
                                                              (610) 988-0977
                                                              Email: DeftBkr@santander.us



VIA US MAIL
Wendell N Calloway
6113 Christian St
Philadelphia, PA 19143

VIA ECF
Kenneth E West
1234 Market St Ste 1813
Philadelphia, PA 19107

Michael A Cibik
mail@cibiklaw.com
    Case 20-14119-pmm                                                                    Doc              Filed 09/30/24 Entered 09/30/24 08:44:43                                                      Desc Main
                                                                                                          Document      Page 4 of 4
                                                     Mail Code: 10-421-CN2
                                                     P.O. Box 12646
                                                     Reading, PA 19612                                                                                                    STATEMENT OF ACCOUNT
                                                     Customer Service: 1-877-768-2265
                                                     www.SantanderBank.com                                                                                         Account Number:
                                                                                                                                                                   Statement Date:                          09-26-2024
                                                                                                                                                                   Statement Period From:                   08-27-2024
                                                                                                                                                                   Statement Period Through:                09-26-2024
                                                                                                                                                                   Days in Statement Period:                        31
                                                               194-0.5400 000003BFXAXBZ 1/2 BIN:0 0-763                                                            Current Balance:                         $13,658.01
                                                               WENDELL CALLOWAY                                                                                    Credit Line Amount:                           $0.00
                                                               6113 CHRISTIAN ST                                                                                   Available Credit:                             $0.00
                                                               PHILADELPHIA PA 19143-2901                                                                          End of Draw Date:                        06-27-2027
                                                    FAFFFFFATDAAAFADDDFDDAFDFDTATATDFFATAADAFDAFTAAFADFADTFDDTDAFAFAF                                              Minimum Payment:                            $174.62
                                                                                                                                                                   Payment Due Date:                        10-19-2024




                                                                                                               Important Message
                                                                                     Want a faster and more convenient way to get your account information?
                                                                                 Enroll in online banking and our Mobile Banking App – it takes just a few minutes.




                                                                                                                                                                          LY
                                             ACCOUNT BILLING SUMMARY                                                                         ACCOUNT BALANCE SUMMARY
194-0.5400 000003BFXAXBZ 1/2 BIN:0 0-763




                                            Principal Due                                                  $56.63                           Beginning Balance                                     $13,730.02




                                                                                                                                                               N
                                            INTEREST CHARGE Due                                           $117.99                           Advances                                                     $0.00
                                            Past Due Amount                                                 $0.00                           Payment Received                                           $190.00
                                            Late Charges Due                                                $0.00                           Insurance Premium                                            $0.00




                                                                                                                                                O
                                            Fees Due                                                        $0.00                           INTEREST CHARGE                                            $117.99
                                            Payment Shortage                                                $0.00                           Late Charges                                                 $0.00
                                            Total Minimum Payment Due                                     $174.62                           Fees                                                         $0.00
                                                                                                                                            Adjustments                                                  $0.00
                                                                                                                              L             Ending Balance                                        $13,658.01
                                                                                                                                            Unapplied Credit Balance                                     $0.00
                                                                                                                A
                                                                                                SUMMARY OF REVOLVING ACCOUNT BALANCE
                                           Periodic Rate From                                                    08-27-2024                 Periodic INTEREST CHARGE                                               $117.99
                                           Periodic Rate Through                                                 09-26-2024                 ANNUAL PERCENTAGE RATE                                                 10.2500
                                                                                         N

                                           Payment Amount                                                           $174.62
                                           Daily Periodic Rate *                                              0.0002800546
                                           Balance Subject to Interest Rate                                      $13,590.57                 Ending Principal                                                     $13,540.02
                                                * The daily periodic rate may vary.
                                                                                        R


                                                                                        TRANSACTION ACTIVITY SINCE YOUR LAST STATEMENT
                                           Posting Date             Effective Date         Activity Description                                                                           Amount                   Balance
                                                                    08-27-2024             BEGINNING PRINCIPAL                                                                                                   $13,611.25
                                                                            E



                                           09-24-2024               09-18-2024             PAYMENT RECEIVED - THANK YOU                                                                    $118.77               $13,611.25
                                                                                           ** INTEREST CHARGE **                                                                           $118.77
                                           09-24-2024               09-18-2024             PAYMENT RECEIVED - THANK YOU                                                                     $57.00               $13,554.25
                                                                T




                                                                                           TO PRINCIPAL                                                                                     $57.00
                                           09-24-2024               09-18-2024             TO PRINCIPAL CURTAILMENT                                                                         $14.23               $13,540.02
                                                                    09-26-2024             ENDING PRINCIPAL                                                                                                      $13,540.02
                                              IN




                                           ***************************************************************** FEES *******************************************************************
                                                                                           TOTAL FEES THIS PERIOD                                                                              $0.00




                                                                                                               Please return this portion with your check.




                                                                                                                           Account Number                     Due Date           Payment Due           Amount Enclosed
                                                                                                                                                             10-19-2024            $174.62

                                              WENDELL CALLOWAY
                                              6113 CHRISTIAN ST
                                              PHILADELPHIA PA 19143-2901



                                              Make Check Payable To:

                                                                       Santander Bank, N.A,
                                                                       P.O. Box 847051
                                                                       Boston, MA 02284-7051
